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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


JOSEPH MICHAEL PHILLIPS                           §
                                                  §
v.                                                §   Civil Action No. 4:22cv184
                                                  §   Judge Mazzant
COLLIN COUNTY COMMUNITY
                                                  §
COLLEGE DISTRICT, ET AL
                                                  §

                            ORDER REGARDING EXHIBITS

      The Court enters this order sua sponte. Due to the upcoming final pretrial conference/trial
window of this case, the Court ORDERS the following:

       A.     On the first day of trial, each party is required to have on hand the following:

              (1)     Original and one copy of their respective original exhibits. Each exhibit

                      shall be properly labeled with the following information: identified as either

                      Plaintiff's or Defendant's Exhibit, the Exhibit Number and the Case

                      Number. In addition, exhibits shall be placed in three-ringer binders.

                      Alternatively, if exhibits are voluminous, the originals may be placed in

                      properly marked letter size manilla folders and contained in a box with

                      handles.

              (2)     Three hard copies of their exhibit list and witness list. These lists shall

                      reflect all pretrial evidentiary rulings and shall be tendered to the Courtroom

                      Deputy at the beginning of trial.

       B.     During trial and on a daily basis, each party shall tender to the Court a new list

              reflecting any additional exhibits admitted the previous day.

       C.     At the conclusion of the evidentiary phase of trial, each party is to gather only those

              exhibits admitted during trial and tender those to the Courtroom Deputy.           The

              Courtroom Deputy shall verify the exhibits and tender to the jury for its

              deliberations those exhibits requested by the jury.
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           D.     At the conclusion of trial, all boxes of exhibits shall be returned to the respective

                  parties and the parties are instructed to remove these exhibits from the courtroom.

           E.     Within five business days of the conclusion of trial, each party shall submit to the

                  Courtroom Deputy (to Chambers) a Final Exhibit List of all exhibits admitted

                  during trial.

           F.     Within five business days of the conclusion of trial, each party shall submit to the

                  Courtroom Deputy (to Chambers) a disk or disks containing their respective

                  admitted trial exhibits in PDF format with the exception of sealed exhibits. Sealed

                  exhibits shall be submitted on a separate disk or disks. If tangible or oversized

                  exhibits are admitted, such exhibits shall be substituted with a photograph to be

                  converted to a PDF file and shall be included in the Court's disk of admitted

                  exhibits.

           G.     After verification of final exhibit lists, the Courtroom Deputy shall file and docket

                  the lists, and the disk or disks containing the exhibits in PDF format shall be stored

.                 in the Clerk's Office, Sherman Division.

           Counsel are reminded to send courtesy copies of pretrial filings to the undersigned in

    accordance with the Local Rules of this Court.

           IT IS SO ORDERED.

           SIGNED this 22nd day of August, 2023.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE




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